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     Peter M. Jones, Esq. SBN# 105811
 5
     Attorneys for:        Defendant, PAUL NOKHAM
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                            Case No.: 1:12CR0341 LJO-SKO
11
                      Plaintiff(s),                       STIPULATION TO MODIFY
12                                                        PRETRIAL RELEASE
             v.
                                                          CONDITIONS; DECLARATION OF
13
     PAUL NOKHAM                                          PETER M. JONES; AND ORDER
14                                                        THEREON
                      Defendant(s).
15
16
17
18
                       Defendant, PAUL NOKHAM, by and through counsel, Peter M. Jones, and
19
     Plaintiff, UNITED STATES OF AMERICA, by and through counsel, Benjamin B. Wagner
20
     hereby stipulate as follows:
21
                       That the condition of Pretrial Release regarding Defendants’ travel be modified
22
     to reflect the following: Defendant may travel to the State of North Carolina to attend his son,
23
     Christopher Lucky Phayrin’s wedding to be held on September 1, 2013 in Hope Mills, North
24
     Carolina with a reception to follow in Fayetteville, North Carolina. Defendant is to leave no
25
     earlier than Friday, August 30, 2013, and return to the District of Nevada no later than
26
     Tuesday, September 3, 2013; all other conditions of release, not in conflict, shall remain in full
27
     force and effect.
28   {7300/002/00424456.DOC}
                                                        1
      ____________________________________________________________________________________________________
           STIPULATION TO VACATE PRETRIAL RELEASE CONDITION; DECLARATION OF PETER M. JONES; AND
                                            [PROPOSED] ORDER
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   1                                 DECLARATION OF PETER M. JONES

   2             I, Peter M. Jones, declare as follows:
1. 3             1.       I am an attorney admitted to practice before this court, and am counsel of record

   4    for Paul Nokham, a Defendant in the above-entitled action.
2. 5             2.       Mr. Nokham informed me that he would like to attend his son, Christopher’s

   6    wedding that is scheduled to be held in North Carolina on Sunday, September 1, 2013

   7    (invitation attached hereto as Exhibit “A”).
3. 8             3.       Mr. Nokham currently resides in and is being supervised by pre-trial release in

   9    the District of Nevada.
4. 10            4.       I have contacted Pretrial Release Officer, Dan Starks, and informed him of Mr.

  11    Nokham’s desire to attend his son’s wedding. Officer Starks informed me that he would take a

  12    “neutral” position on a travel request.
5. 13            5.       I have contacted AUSA Karen Escobar, and she has agreed to stipulate to the

  14    Defendant’s travel request provided there are specific departure and return dates.
6. 15            6.       I have contacted Mr. Nokham’s son, Christopher Lucky Nokham Phayrin (310)

  16    902-9678. Mr. Phayrin informed me that he is in the United States Army stationed in North

  17    Carolina. He confirmed his wedding date and stated that he would very much like for his

  18    father to attend. He confirmed that the defendant is his father. He said he has always gone by

  19    his mother’s last name.

  20                      I declare under penalty of perjury that the foregoing is true and that this

  21    declaration was executed in Fresno, California, on August 19, 2013.

  22                                                      ____/s/ Peter M. Jones_________
                                                                 Peter M. Jones
  23
  24
  25
  26
  27
  28    {7300/002/00424456.DOC}
                                                           2
         ____________________________________________________________________________________________________
              STIPULATION TO VACATE PRETRIAL RELEASE CONDITION; DECLARATION OF PETER M. JONES; AND
                                               [PROPOSED] ORDER
     Case 1:12-cr-00341-LJO-SKO Document 81 Filed 08/19/13 Page 3 of 3



 1   Dated: August 19, 2013                      Respectfully submitted,

 2
                                                 By: /s/ PETER M. JONES_________________
 3                                                  PETER M. JONES, Attorney for
                                                    Defendant, PAUL NOKHAM
 4
 5   Dated: August 19, 2013                      BENJAMIN B. WAGNER, U.S. Attorney
                                                 UNITED STATES ATTORNEY’S OFFICE
 6
 7
                                                 By: /s/ KAREN A. ESCOBAR_______________
 8                                                       KAREN A. ESCOBAR,
                                                         Assistant U.S. Attorney
 9
10
11
12
13                                                 ORDER

14
                       Having reviewed the above Stipulation and Good Cause Appearing, it is hereby
15
     ordered that the travel condition of Pretrial Release regarding Defendant, Paul Nokham, be
16
     modified as follows:       He may travel to the State of North Carolina to attend his son,
17
     Christopher Lucky Phayrin’s Wedding. He will leave no earlier than Friday, August 30, 2013
18
     and return to the District of Nevada no later than Tuesday, September 3, 2013. All other
19
     conditions of release, not in conflict, shall remain in full force and effect.
20
21   IT IS SO ORDERED.
22
         Dated:       August 19, 2013                                          /s/ Lawrence J. O’Neill
23                                                    DEAC_Sig nature-END:
                                                                             UNITED STATES DISTRICT JUDGE

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28   {7300/002/00424456.DOC}
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      ____________________________________________________________________________________________________
           STIPULATION TO VACATE PRETRIAL RELEASE CONDITION; DECLARATION OF PETER M. JONES; AND
                                            [PROPOSED] ORDER
